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UNITED STATES DISTRICT COURT 7
MIDDLE DISTRICT OF FLORIDA»
ORLANDO DIVISION ~ / és

 

UNITED STATES OF AMERICA “se ; Se “,°

Case No. &: Le: - (Lo - PER Lett
21 U.S.C. § 841(a)(1)

V.
JESUS MANUEL RODRIGUEZ CASTILLO
INFORMATION
The United States Attorney charges:
COUNT ONE

On or about August 27, 2019, in the Middle District of Florida, the

defendant,
JESUS MANUEL RODRIGUEZ CASTILLO

did knowingly and intentionally possess with intent to distribute a controlled
substance, which violation involved 100 grams or more of a mixture and
substance containing a detectable amount of heroin, a Schedule I controlled
substance, and 40 grams or more of a mixture and substance containing a
detectable amount of fentanyl, a Schedule II controlled substance, and is
therefore punished under 21 U.S.C. § 841(b)(1)(B).

In violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(B).
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FORFEITURE

1. The allegations contained in Counts One are incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of 21
U.S.C. § 853.

2. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the
defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a)(1)
and (2), any property constituting, or derived from, any proceeds the
defendant obtained, directly or indirectly, as a result of such violation, and any
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violation.

3. If any of the property described above, as a result of any acts or
omissions of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property, which cannot
be divided without difficulty,
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the United States shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p).

KARIN HOPPMANN

Acti nited a

ana E. Hill
Assistant United States Attorney

By. (Mu ts Woradh f?)

Roger B. Handberg
Assistant United States Attorney
Chief, Orlando Division

    
   
